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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                            Cr. No. 04-30006-02/USM No. 12190-035

 VERSUS                                              JUDGE ROBERT G. JAMES

 WILLIARD A. COLLIER                                 MAG. JUDGE KAREN L. HAYES


                                   AMENDED JUDGMENT

        Pursuant to 18 U.S.C. § 3582(c)(2), which provides for a reduction in the term of

 imprisonment imposed based on a guideline sentencing range that has subsequently been lowered

 and made retroactive by the United States Sentencing Commission under 28 U.S.C. § 994(u),

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Judgment of the Court,

 imposed on April 18, 2005, sentencing Defendant Willard A. Collier to a term of imprisonment of

 72 months, to run concurrently with his state sentence, is AMENDED, and Defendant’s sentence is

 reduced to 60 months, to run concurrently with his state sentence. If this sentence exceeds the

 amount that Defendant has already served, this shall be treated as a “Time Served” Judgment.

        IT IS FURTHER ORDERED that, if Defendant is currently incarcerated in a Bureau of

 Prisons (“BOP”) facility, this Amended Judgment is STAYED for a period of ten (10) calendar days

 in order to allow BOP to complete its administrative functions. However, this stay shall NOT apply

 to any Defendant who is in pre-release custody in a Residential Reentry Center.

 I.     COURT DETERMINATION OF GUIDELINE RANGE (Prior to any departures)

 Previous Offense Level:          27                 Amended Offense Level:         25
 Criminal History Category:       VI                 Criminal History Category:     VI
 Previous Guideline Range: 130-162 months            Amended Guideline Range: 110-137 months
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 II.     SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE

                  The reduced sentence is within the amended guideline range.

                  The previous term of imprisonment imposed was less than the guideline range
                  applicable to the defendant at the time of sentencing as a result of a departure
                  or a Rule 35 reduction, and the reduced sentence is comparably less than the
                  amended guideline range.

              X   Other (explain):The previous term of imprisonment imposed was less than the
                  guideline range applicable to the defendant at the time of sentencing as a result
                  of a 5K1.1 departure. The reduced sentence is the statutory minimum.


 III.    ADDITIONAL COMMENTS:

         Except as otherwise provided, all provisions of the Judgment dated April 18, 2005, remain

 in effect.

         MONROE, LOUISIANA, this 4th day of March, 2008.




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